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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 2:22-CR-0210-KJM
11
                                  Plaintiff,            ORDER STAYING MAGISTRATE JUDGE’S
12                                                      ORDER OF RELEASE
                            v.
13
     JUAN ANTONIO NIEBLA-OSUNA,
14
                                 Defendants.
15

16
                                                     ORDER
17

18          Upon the motion of the United States, good cause having been shown, but without reaching the

19 merits of the government’s motion to revoke, it is hereby ORDERED that the order issued October 12,

20 2022, by the United States Magistrate Judge for the Central District of California, authorizing the release

21 of the defendant, Juan Niebla-Osuna, shall be stayed, and the defendant shall remain in the custody of

22 the United States Marshal’s Service pending further proceedings in this court on the government’s

23 motion to revoke the release order pursuant to Title 18, United States Code, Section 3145;

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26 ///

27 ///

28 ///


      ORDER                                             1
              Case 2:22-cr-00210-DJC Document 16 Filed 10/18/22 Page 2 of 2

 1          It is further ORDERED that the United States Marshal’s Service shall promptly transport the

 2 defendant from the Central District of California to the Eastern District of California for such

 3 proceedings.

 4          IT IS SO ORDERED.

 5 DATED: October 17, 2022.

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      ORDER                                              2
